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            Sealed                                                           United States Courts
Public and unofficial staff access                                         Southern District of Texas
     to this instrument are                                                       &/>ED
   prohibited by court order                                                  October 03, 2023
                                                                         EaƚŚĂŶKĐŚƐŶĞƌ, Clerk ofCourt




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